Co Oo TN DO OH FP WD YH

NO NBO NH HN NY PVP NN N NO KH KF KF Se Se FF EF ES
co tN DH ON SB WOW NY KH CO DO CO HDHD Hn FP WD NYO | CO

Case 4:20-cr-02256-RM-DTF Document1 Filed 10/28/20 Page 1 of 2

MICHAEL BAILEY
United States Attorney
District of Arizona

ERICA L. SEGER e020 UCT 2g
Assistant United States Attorney

Arizona State Bar No. 022681 LEP Ue ppawns ae
405 West Congress St., Suite 4800 DpSpop Soe at COU
Tucson, AZ 85701
Telephone: 520.620.7300
Email: erica.seger@usdoj.gov

Attorneys for Plaintiff CR20-02256 TUC-RM(DTF)

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
United States of America,
Plaintiff, INDICTMENT
Vs. VIO:

18 U.S.C. §§ 13, 7 and Ariz. Rev. Stat.
Timothy Agnew, § 13-1402

(Indecent Exposure)
Defendant(s). ount 1

18 U.S.C. §§ 13, 7 and Ariz. Rev. Stat. §
13-1403

(Public Sexual Indecency)

Count 2

 

 

 

THE GRAND JURY CHARGES:
COUNT 1

INDECENT EXPOSURE
Between on or about March 5, 2020 and on or about March 6, 2020, at the Southern
Arizona Veterans’ Affairs facility, in the District of Arizona, TIMOTHY AGNEW did
expose his genitals in the presence of another person, including a person under the age of
fifteen, to wit: Jane Doe, and was reckless about whether Jane Doe and others, as
reasonable people, were offended or alarmed by the act, in violation of Arizona Revised

Statutes § 13-1402, and Title 18, United States Code, Sections 7(3) and 13.

///

 

 

 
Co oN KD HW FB WN &

NO wo wo Wb NH NWN NY WN NO HR F&F KF KF KF KF OF OE Se
oO NT DB OT FF W NY YF DTD Oo fF ANT HDB AH FP WD NY KF OC

 

Case 4:20-cr-02256-RM-DTF Document1 Filed 10/28/20 Page 2 of 2

COUNT 2
PUBLIC SEXUAL INDECENCY TO A MINOR

Between on or about March 5, 2020 and on or about March 6, 2020, at the Southern
Arizona Veterans’ Affairs facility, in the District of Arizona, TIMOTHY AGNEW
intentionally and knowingly engaged in sexual contact in the presence of other people, and
was reckless about whether a minor under fifteen years of age was present and whether
such other person, as a reasonable person, would be offended or alarmed by the act, in
violation of Arizona Revised Statutes § 13-1403, and Title 18, United States Code, Sections
7(3) and 13.

A TRUE BILL

/S/

FOREPERSON OF THE GRAND JURY
Date: October 28, 2020

 

MICHAEL BAILEY
United States Attorney
District of Arizona

/S/

 

ERICA L. SEGER
Assistant U.S. Attorney

 

 

 
